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                               UNITED STATES DISTRICT COURT
17
                  NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
18
                                                  Case No. 4:20-cv-03664-YGR-SVK
19    CHASOM BROWN, et al., individually and
      on behalf of all similarly situated,        [GOOGLE LLC’S PROPOSED]
20                                                FINDINGS OF FACT AND
            Plaintiffs,                           CONCLUSIONS OF LAW ON
21                                                PLAINTIFFS’ REQUEST FOR AN
                   v.
                                                  ORDER FOR GOOGLE TO SHOW
22
      GOOGLE LLC,                                 CAUSE FOR WHY IT SHOULD NOT
23                                                BE SANCTIONED FOR DISCOVERY
            Defendant.                            MISCONDUCT
24
25                                                The Hon. Susan van Keulen
26
27
28
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 1 I.       INTRODUCTION
 2          Plaintiffs Chasom Brown, et al. (“Plaintiffs”) filed this motion seeking evidentiary and
 3 monetary sanctions against Defendant Google, LLC (“Google”) for alleged discovery failures by
 4 Google that Plaintiffs claim violated orders of this Court.
 5          At the Court's request (Dkt. 443), Google proposes the following findings of fact and
 6 conclusions of law.
 7 II.      PLAINTIFFS' REQUEST FOR SANCTIONS
 8          1.      Pursuant to Federal Rule of Civil Procedure 37(b), Plaintiffs move for three sanctions:
 9          2.      First, they ask the Court to “[t]ak[e] as established for purposes of the action that (A)
10 Google can detect event-level Incognito traffic within its logs, (B) this Incognito data is linkable to
11 users, so that (C) the class is ascertainable.” Mot. 3.
12          3.      Second, they ask the Court to “[i]nstruct[] the jury that ‘Google concealed and altered
13 evidence regarding its ability to identify Incognito traffic.’” Id.
14          4.      Third, they ask the Court to “[r]equire Google to reimburse Plaintiffs for all fees that
15 have been paid and will be paid to Special Master Brush.” Id.
16          5.      Plaintiffs premise their motion on the allegation that Google concealed that certain
17 Google            engineers         created         and         logged         a        bit        called
18 “maybe_chrome_incognito_DO_NOT_USE_WITHOUT_CONSULTING_ADS_
19 IDENTITY_TEAM,” (referred to herein as “maybe_chrome_incognito” for simplicity), that Google
20 failed to identify for Plaintiffs the names of logs storing the bit in a Google declaration ordered by the
21 Court, and that Google altered a produced log schema to remove reference to it. Id.
22          6.      In supplemental briefing, Plaintiffs also allege that Google concealed two other bits
23 called “is_chrome_non_incognito_mode” and “is_chrome_incognito.” Supp. 1.
24          7.      Plaintiffs allege that Google's conduct violated this Court's November 12, 2021
25 discovery order, Dkt. 338.
26 III.     EVIDENTIARY OBJECTIONS
27          8.      Google objects to the declarations of Mark C. Mao in support of Plaintiffs' motion.
28 Specifically, Google objects to paragraphs 3–12, 15–23, 25, and 27–31 of the Declaration of Mark C.

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 1          58.     Second, when a user engages Incognito mode, the data generated by the Chrome
 2 browser is both disconnected from the user’s identity and from data generated by the same user in
 3 other browsing sessions. Leung Decl. ¶ 9.
 4          59.     This conclusion is consistent with how data is (and is not) collected in connection with
 5 other popular web browsers. Plaintiffs subpoenaed Mozilla, Apple, and Microsoft se eking records
 6 sufficient to identify each entity's private browsing users, and each entity responded that, like Google,
 7 it is unable to identify private browsing users. Trebicka Decl. Exs. 44–46.
 8          E.      Google Did Not Make False Statements or Tamper With Evidence.
 9          60.     Plaintiffs allege that Google or its employees made two false statements. First, they
10 allege that Google Ads engineer Chris Liao incorrectly testified that Google “had abandoned any
11 efforts to identify Incognito traffic within its logs.” Mot. 15. Second, they allege that Google
12 employee Andre Golueke incorrectly attested on November 18, 2021 that, to the best of his knowledge
13 and informed understanding, Google had identified to Plaintiffs all data sources containing
14 information relevant to their claims. Mot. 17–18.
15          61.     Mr. Liao testified at his December 2021 deposition that “[t]here is no explicit signal to
16 identify incognito mode traffic,” Trebicka Decl. Ex. 40 at 131:14–132:3, and that there is no “reliable
17 signal to infer [I]ncognito mode at the time we receive an ad query,” Mao Decl. Ex. 8 at 140:6–10.
18          62.     Mr. Liao's statements are true: “maybe_chrome_incognito” is neither a signal nor a
19 reliable method to infer Chrome Incognito traffic. Liao Decl. ¶ 13; Leung Decl. ¶¶ 3–7.
20          63.     Plaintiffs    do   not   dispute   that   they    did   not ask     Mr.    Liao   about
21 “maybe_chrome_incognito” at his deposition, though they had received documents about that bit
22 months before the deposition.
23          64.     On November 12, 2022, the Court ordered Google to provide a declaration attesting
24 that, among other things, “[t]o the best of its knowledge, Google has provided a complete list of data
25 sources that contain information relevant to Plaintiffs' claims.” Dkt. 331.
26          65.     On November 18, 2022, Mr. Golueke submitted a responsive declaration attesting that
27 “[t]o the best of my knowledge and informed understanding, Google has provided a complete list of
28 sources that contain information about Plaintiffs relevant to Plaintiffs' claims.” Dkt. 338.

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 1                   1.      Evidentiary Sanctions
 2           87.     Plaintiffs seek two related forms of evidentiary sanction: issue preclusion in the form of
 3 an order taking as established “that (1) Google can detect event-level Incognito traffic within its logs,
 4 and (2) this Incognito data is linkable to users, so that (3) the class is ascertainable;” and evidentiary
 5 preclusion in the form of an order prohibiting Google from “presenting any arguments . . . concerning
 6 whether Google can identify Incognito traffic within logs and whether that da ta is linkable to users.”
 7 Mot. 20. Neither preclusion sanction is justified.
 8           88.     “Courts rarely impose issue preclusion sanctions” and reserve them “only for discovery
 9 abuse that is so extreme and prejudicial that no lesser remedy will cure the harm. ” Natural-
10 Immunogenics Corp. v. Newport Tr. Grp., 2016 WL 11520757, at *6 (C.D. Cal. June 16, 2016).
11           89.     Sanctions precluding a party from offering evidence are similarly disfavored where the
12 alleged prejudice is curable and lesser sanctions are available. rePlanet Holdings, Inc. v. Fed. Ins. Co.,
13 2020 WL 1046960, at *5 (E.D. Cal. Mar. 4, 2020).
14           90.     Here, Plaintiffs have not suffered prejudice and lesser remedies are available to cure
15 the alleged harm. Accordingly, issue and evidence preclusion sanctions are not warranted.
16           91.     Google produced documentation identifying and describing the bits at issue in 2021,
17 months before the close of fact discovery. See Kannan v. Apple, Inc., 2020 WL 9048723, at *8 (N.D.
18 Cal. Sept. 21, 2020) (prejudice from incomplete discovery is “limited” where movin g party had
19 “access to other sources of information about” the same topic); see also United States ex rel. Wiltec
20 Guam, Inc. v. Kahaluu Const. Co., 857 F.2d 600, 604 (9th Cir. 1988) (delayed production “did not
21 prejudice the outcome of [the] action” even if it “caused serious inconvenience”).
22           92.     Moreover, the harm Plaintiffs allege is insufficient access to information important to
23 their case, and Google has already produced or agreed to produce additional discovery on all three bits
24 at issue. See Nuance Comms., Inc. v. ABBYY Software House, 2012 WL 5904709, at *3 (N.D. Cal.
25 Nov. 26, 2012) (“[I]f Plaintiff believed that the prejudice it suffered . . . was losing its right to conduct
26 discovery . . . then the appropriate relief was not to ask for issue preclusion sanctions, but to seek a
27 discovery extension so that it could actually have a chance to learn more about its claims. ”);
28 Manchester v. Sivantos GMBH, 2019 WL 988676 (C.D. Cal. Feb. 8, 2019) (“The Court is reluctant to

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 1 impose an issue preclusion order where the Request did not specifically mention [the non-produced
 2 data] without further evidence of bad faith or prejudice not remediable by less drastic means. ”).
 3          93.     Issue and evidence preclusion sanctions are also inappropriate because Google has
 4 presented substantial evidence demonstrating that the bits at issue cannot be linked to individual
 5 Chrome Incognito users, which is the fact Plaintiffs seek to establish. See Natural-Immunogenics
 6 Corp., 2016 WL 11520757, at *6 (“[D]espite [the discovery misconduct], the [point sought to be
 7 established] remains a contested issue of fact that is inappropriate for resolution through issue
 8 preclusion sanctions.”). The actual (not presumptive) truth of this fact has serious ramifications for
 9 putative class members, who would ultimately have to be identified. Under these circumstances, the
10 evidentiary sanctions Plaintiffs seek are inappropriate.
11                  2.      Jury Instructions
12          94.     Plaintiffs also seek a jury instruction that “Google concealed and altered evidence
13 regarding its ability to identify Incognito traffic.” Mot. 22.
14          95.     Such an extreme and prejudicial remedy “should [not] be imposed casually,” Apple Inc.
15 v. Samsung Elecs. Co., 888 F. Supp. 2d 976, 994 (N.D. Cal. 2012), and it is not warranted here.
16          96.     As a preliminary matter, the instruction Plaintiffs request is inaccurate. Google did not
17 conceal any of the bits at issue; nor did Google alter evidence when it produced the largest 100 fields
18 of a log schema with the Special Master's authorization. For that reason alone, an advers e jury
19 instruction would not be “just.” See Ins. Corp. of Ireland, 456 U.S. at 707.
20          97.     Adverse jury instructions are typically employed to cure the prejudice that results when
21 a party irrevocably destroys evidence. See, e.g., Apple, 888 F. Supp. 2d at 985; First Fin. Sec., Inc. v.
22 Freedom Equity Grp., 2016 WL 5870218, at *3 (N.D. Cal. Oct. 7, 2016).
23          98.     That is not the case here. Google provided detailed discovery on the bits at issue
24 months before Plaintiffs pursued them, and has since provided additional discovery on all three bits. In
25 any case, an adverse jury instruction would not be "related to the particular ‘claim’” at issue, Ins.
26 Corp. of Ireland, 456 U.S. at 707, because the Court, and not a jury, will decide whether members of
27 Plaintiffs’ purported class are ascertainable.
28

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 1          99.     For the first time on Reply, Plaintiffs argue that Google’s alleged discovery misconduct
 2 is relevant to Plaintiffs’ claims for invasion of privacy and intrusion upon seclusion, as well as their
 3 entitlement to punitive damages. Reply 15. The Court will not consider these belated arguments,
 4 which should have been made in the opening papers. Zamani v. Carnes, 491 F.3d 990, 997 (9th Cir.
 5 2007) (“The district court need not consider arguments raised for the first time in a reply brief.”).
 6          100.    In any event, Google's litigation conduct has no bearing on the merits of Plaintif fs ’
 7 case, and has not affected any piece of evidence to which the jury would otherwise have access. It
 8 would be prejudicial and irrelevant to air these claims before the jury .
 9                  3.      Special Master Fees
10          101.    Plaintiffs further seek an order requiring Google to reimburse Plaintiffs for all fees paid
11 and to be paid to the Special Master in this case pursuant to Rule 37(b)(2)(C). The relief they seek,
12 however, is outside the scope of the reimbursement authorized by Rule 37.
13          102.    Rule 37(b)(2)(C) provides that a sanctioned party must pay only expenses that are both
14 “reasonable” and actually “caused by the failure” resulting in sanctions. Accordingly, any expenses
15 incurred prior to the sanctionable conduct are not compensable. Liew v. Breen, 640 F.2d 1046, 1051
16 (9th Cir. 1981). Nor are discovery expenses that would have been incurred regardless of the
17 misconduct. Toth v. Trans World Airlines, 862 F.2d 1381, 1386 (9th Cir. 1988).
18          103.    Instead, courts generally construe Rule 37(b)(2)(C) as authorizing reimbursement
19 solely for the expenses incurred in preparing the sanctions motion itself. See First Fin. Sec., Inc., 2016
20 WL 5870218, at *7; Alaska Pulp Corp. v. United States, 41 Fed. Cl. 611, 616-17 (C.F.C. 1998).
21          104.    Plaintiffs’ requested reimbursement is neither “reasonable” nor “caused by the failure”
22 alleged. Because Google did not violate a discovery order and is not subject to sanction under Rule
23 37(b), no reimbursement is called for.
24 VI.      CONCLUSION
25          105.    For the foregoing reasons, the Court finds that Google has not violated a discovery
26 order and no sanctions are warranted.
27          106.    Accordingly, Plaintiffs’ motion requesting an order for Google to show cause for why
28 it should not be sanctioned for discovery misconduct is DENIED.

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